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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 Caption in Compliance with D.N.J. LBR 9004-1(b)



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 In Re:                                                   Case No.:     21-30589 (MBK)

 LTL MANAGEMENT LLC,                                      Judge:       Michael B. Kaplan

                       Debtor                             Chapter 11

                                    CERTIFICATION OF SERVICE

     1. I, Karla M. Quirk:

                    represent [ ]                  in this matter.

                  X am a paralegal for Bernstein, Shur, Sawyer & Nelson, P.A., who represents the
                   Fee Examiner in this matter.

                    am the [ ]                         in this case and am representing myself.
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    2. On July 12, 2022, I sent a copy of the following pleadings and/or documents to the
       parties listed in the chart below.

        DE 2694 Modified Local Form Certification of No Objection Regarding Monthly Fee
        Statement of Traurig Law LLC, for the Period of May 1, 2022 Through May 31, 2022
        (Docket No.2612);

        DE 2695 Modified Local Form Certification of No Objection Regarding Monthly Fee
        Statement of Robert J. Keach, Fee Examiner, for the Period of May 1, 2022 Through
        May 31, 2022 (Docket No.2613); and

        DE 2696 Modified Local Form Certification of No Objection Regarding Monthly Fee
        Statement of Bernstein Shur Sawyer & Nelson, P.A., for the Period of May 1, 2022
        Through May 31, 2022 (Docket No.2614).

    3. I certify under penalty of perjury that the above documents were sent using the mode of
       service indicated.


    Date: July 12, 2022                             /s/ Karla M. Quirk
                                                    Karla M. Quirk, Paralegal

   Name and Address of Party Served         Relationship of Party to           Mode of Service
                                                   the Case
                                                                         Hand-delivered
   See Attached Exhibit A                                                Regular Mail
                                                                         Certified mail/RR
                                                                       X Other email
                                                                           (As authorized by the Court or by rule.
                                                                       Cite the rule if applicable)




                                                2
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